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                                                                                       03/01/2019



February 28, 2019

VIA ELECTRONIC FILING

Hon. Sarah Netburn
United States Magistrate Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re:    In re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN) –
              Status of Martin F. McMahon & Associates as Counsel of Record for MWL
              and IIRO

Dear Judge Netburn:

       This firm represents the Muslim World League (“MWL”) and the International Islamic
Relief Organization (“IIRO”), defendants in the above-captioned matter. We write pursuant to
Your Individual Practices in Civil Cases, to alert Your Honor to a pending request that was filed
by Martin F. McMahon, former counsel to MWL and IIRO, on January 18, 2018 (ECF No.
3874).

       Although styled a “Notice of Withdrawal as Counsel” on the Court’s docket and
supported by a “Praecipe Re Withdrawal as Counsel,” Mr. McMahon sought an order from the
Court for “Martin F. McMahon and Associates [to] be stricken from the record as representing
the Muslim World League and International Islamic Relief Organization.” See Proposed Order,
attached to Praecipe Re Withdrawal as Counsel (ECF No. 3874). Since the date of that filing, no
party has sought to oppose the requested relief.

        For the sake of good order, we wish to bring to the Court’s attention that Mr. McMahon
and his former associate, Christopher R. Smith, remains listed as counsel of record for MWL and
IIRO, despite the fact that Martin F. McMahon & Associates has not represented MWL or IIRO
for many years. See Praecipe Re Withdrawal as Counsel (ECF No. 3874) at 1.

      Granting the proposed order attached to Mr. McMahon’s filing of January 18, 2018,
would permit the removal of Martin F. McMahon & Associates from the record as representing
MWL and IIRO. My appearance, along with the appearances of my colleagues, Eric L. Lewis,
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   Waleed Nassar and Sumayya Khatib, as counsel representing MWL and IIRO would remain
   unchanged.

                                              Respectfully submitted,

                                              /s/ Aisha E. Bembry
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   cc:     All Counsel of Record via ECF




Mr. McMahon's request to withdraw as counsel of record for the Muslim World League and the
International Islamic Relief Organization, see ECF No. 3874, is GRANTED. The Clerk of Court is
respectfully directed to remove Martin McMahon as counsel of record for these Defendants.

SO ORDERED.

March 1, 2019
New York, New York
